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March 12,2020


United States District Court Northern District of Illinois


COMPLAINT
Plaintiff

Zakarrhea Lisa Newbern Mazzarri Bey
take mail at 5404 S. Seeley Avenue
Chicago,IL 60609


    V
                                                             Case   No. 2019CH02847

Defendant(s)
Patrick T. Schuette Lawyer
230 W. Monroe Street, Suite 1125
Chicago,IL 60606

William B. Sullivan
50 W. Washington Street
Rm 2803
Chicago,lL 60602

Kenneth L. Johnson
230 W. Monroe St. Suite 1125
Chicago,IL 60606

Roy Hong
230 W. Monroe St. Suite 1125
Chicago,IL 60606

Julio Marroquin
230 West Monroe St. Suite 1125
Chicago,IL 60606
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March 12,2020

Affidavit of Fact
A{fidavit of Truth


COMPLAINT TREATY VIOLATIONS


28 U.S.C. S 1331 Treaty Violations and Removal case State Court to District Court and in
Violation of Article 3

28 U.S. Code $ 1331. Federal question
                 jurisdiction
The district courts shall have original              of all civil actions arising under the
Constitution, laws, or treaties of the United States.

Treaties listed below Laws and Constitution:

The Treaty of Peace and Friendship 178711836
Sundry Free Moors Act of 1790
Moorish Zodiac Constitution
The Great Seal of the Moorish Nation

Statement of Claim: Treaty Violations pursuant Title 28 U.S. Code $ 1331 and removal of the
case from State Court to District Court
Treaties and Federal Question Jurisdiction

Statement of Claim and Case: Removal of Case from State Court to District Court Defendants
are proceeding on a case in district court the case number is 1:19-cv-07852

United States Defendants Patrick T. Schutte from Law Firm Johnson, Blumberg & Associates
L.L.C., and his agents Kenneth L. Johnson, Roy Hong, Julio Marroquin, and William B. Sullivan
unlawfully deciding on a case that I moved from State Court to District Court. The case number
that is currently in District Court is 1:19-cv-07852 and Honorable Sara L. Ellis is the Judge on
the case, and Status Hearing set for 0610212020. Case # 2019CH02847 moved from State Court
to District.


Case number 2019CH02847 that moved from Circuit Court Chancery to District Court Division
Judge William B. Sullivan set to rule on the case that is in Federal Court. The District Court
decides on litigation due to Federal Question and Treaty. On February 28,2020, Patrick T.
Schuette from Law oflice Johnson, Blumberg & Associates, L.L.C. put in a Re-Notice of Motion
Summary Judgement, Judgement of foreclosure on my land. Patrick T. Schuette and William B.
Sullivan are unlawful to steal my parcel; This unlawful act scheduled to take place on March 31,
2020; this is a violation of my Treaties and my rights to due process. Defendants do not lawfully
want to wait and let the District Court complete its function.




                                                  a
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 March 12,2020



 Under federal laws:

 "...[T]he State court shall proceed no further unless and until the case is remanded." See 2g
 U.S.C. $ 1aa6(d); see also Ackerman v. ExxonMobil Corp. (4th Cir. 2013) 734
                                                                                  F3d 237,24g-
 250 (any postremoval action by state court is void ab initio).

The state court may resume jurisdiction only if and when the case is remanded
                                                                               by the federal
court. See Allstate Ins. Co. v. Sup.Ct. (Wickham) (1982) 132 Cal.App. 3d 670,-676(no
                                                                                         power to
resume if federal court dismisses rather than remands); see also Murray    pord
                                                                        v.      Motor Co.
Cir. 1985) 770F2d461,463 (state court has no power to set aside default judgment after lStfr
removal).

Affidavit Declaration of Status:

I Plaintiff, Zakarthealisa NewbemMazzariBey the natural living flesh and blood
                                                                                     woman, A
Moor American National on the land not a U. S citizen. I am fromi separate nation
                                                                                     that has a
right to remove an unlawful case from State Court to Federal Court based on My rights
                                                                                         as an
Indigenous Moor and under the 1787 Peace and Treaty Friendship and Moorish
                                                                                  Zodiac
Constitution all my rights as a Moor listed above. Mr. Schuette and his agents from
                                                                                    Johnson
Blumberg and Associates Kenneth L. Johnson, Roy Hong, Julio Manoqriin, and
                                                                                  Mr. Sullivan are
violating my Treaty E.T.C. and set to deciding on u r*" p"nding in Districi
                                                                            Court.



Acts violated constitutional amendments see below: Article 3,
Moorish Great Seal Constitution. Articles IV AND VI Article XV, Article III, Section
                                                                                      2;
Amendment V - Liberty Clause; Amendment IX, Department of Justice Moorish
                                                                                Credentials;
Free Moorish Zodiac Constitution, Truth A-1 classifi ed AA222141 clock
                                                                          of Destiny; The
MoorishNationality and Identification Card, Title 18, Part 1, Chapter 13 g24L Titlqlg, part
                                                                                             l,
Chapter 13 5242 of United States Codes of Law.

Title 18, Part l, chapter 13 $241 of united States codes of Law If two or more persons
                                                                                            conspire
to injure, oppress, threaten, or intimidate any person in any State, Territory, Commonwealth,
Possession, or district in the free exercise or enjoyment of *y right or p.iuif.g"
                                                                                    secured to him
by the Constitution or Laws of the United States, or because of nir having
                                                                              so Jxercised the same
E.T.C.
     Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 5 of 32 PageID #:5




March 12,2020


 (the Organic Land) absent of foreign'colored' or imposed excise taxation constructs invented,
by the racketeering States' Legislators, to abridge and steal Rights belonging to the Natural
Peoples. These Substantive Rights are supported by, and asserted by, Royal Law; Moorish Law;
Moslem / Muslim Law; The Law of the Great Peace; The Laws of Nature; Divine Law; Nature's
God; The Laws ofNations; The Free Moorish Great Seal Zodiac Constitution; and Affirmed by
                                                                     :
Articles IV and VI of the Constitution Covenant of 1774 - 1781 A.D. 1201 M. C., ffi lawfully
adopted for The United States Republic, establishing its Republican Form of Government.

Peace and Friendship Between the United States and Morocco -Seventeen Eighty-Seven (1787) -
superseded by the Treaty of Eighteen Thirty-Six (1836); Resolution 75: Joumals of The House of
Representatives; United States - April 17,1933 A. D. - Moorish American Society of
Philadelphia and the Use of Their Names; The United Nations "Declaration of the Rights of the
Child" General Assembly Resolution 1386 (XIV), l4 U.N. GAOR Supp.(No, 16) at 19, U.N.
Doc. A/435a (1959); The United Nations "Universal Declarations on Human Rights" Article
                                                                             o'Executive
XV, General Assembly Resolution 217 A(III) of 10, December 1948 A.D.;                     Order
13107'-United States Republic, North America -The Implementation of Human Rights
Treaties; The National Constitution for the Continental United States, Article III, Section 2;
Amendment V - Liberty Clause; Amendment IX-Reservation of the Rights of the People; The
United States Department of Justice Moorish Credentials; Free Moorish Zodiac Constitution,
Truth A-l Classified; The United States Copyright Certificate Number AA222l4l Clock of
Destiny; The Moorish Nationality and Identification Card; Moorish Holy Temple of Science /
Moorish Science Temple Identification Card, etc.

  Furthermore, I Assert My full Birthrights - Sovereignty and Substantive Rights and claim to
Hereditaments - Being a Sundry Free Moor / Muur and a (Natural Being) pursuant to: Moabite /
Moorish Pedigree; The Free Moorish Zodiac Constitution; The Great Seal of the Moorish Nation
(Ab Antiquo); The Treaty of Peace and Friendship - 1787 I 1836; The Sundry Free Moors Act of
fi9A; The 1781 Organic United States Constitution; The Moorish Federal Financiers Act (Union
States Army: 1861 -1863); The 1854 Roman Catholic Magna Charta; the Knights of Columbus
Code; The Ku Klux Klan Oath; The United Nations Charter, Article 55(c); The Rights of
Indigenous People: Part I, Articles 1,2,3,4,5;Part II, Article 6; The United States Supreme
Court - 'Acts of State"; The foreign Sovereign Immunities Act 28 USC 1601; et Sequa., The
Convention on Intemational Road Traffic -Day 19, September 1949, The World Court Decision,
                                                      :
The Hague, Netherlands - Day 21, Jarruary 1958 A.D. 1378 M.C. In reference to the Rights of
the Natural People and Substantive Rights, etc., the following are pertinent Supreme Court
Decisions, (Stare Decisis) to wit:




                                              q
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March 12,2020

Additional information and comments State and Jurisdiction:

The State cannot participate or contract with Treaties. State courts lack jurisdiction over treaty
issues. Judges or Magistrate exercising jurisdiction over treaty issues in violation of article 3 of
the Constitution are not within theirjurisdiction and barred from claiming judicial immunity by

knowingly and intentionally violating the constitutional power given to them and exercising
judicial powers of a federal judge without a congressional appointment.

Additional information regarding Jurisdiction and case law below:
:f.   !tr




 12.        If any Tribunal (Court) finds the absence of proof ofjurisdiction over   a person and subject
matter, the case must be dismissed. Louisville v. Motley 211 US 149,295. CT 42. "The Accuser
Bears the Burden of Proof Beyond a Reasonable Doubt."

13. "Lack of Federal Jurisdiction can not be waived or overcome by agreement of parties."
Griffin v. Matthews, 310 F Supra 341,342 (1969): and "Want of Jurisdiction may not be cured
by consent of parties." Industrial Addition Association v. C.I., R., 323 US 310,313.

I often phrase my prayers for relief as follows:

Wherefore I LisaNewbern Mazzarty Bey plaintiffprays this Court to issue relief as follows:

1. commanding the defendant to     wait for the District Court to resolve the issue
2.  Issue declaratory relief and Injunctive relief as this Court deems appropriate        just
3. reversionary of my estate to Zakarrhea Lisa Newbern MazzarnBey
4. Award plaintiff(Zakarrhea Lisa NewbernMazz,ari Bey ) 2,295.000 or 2.3 million for parcel
pain and suffering costs of litigation.

Here is the breakdown request for defendants cost:
Patrick T. Schuette 459,000
William B. Sullivan 459,000
Kenneth L. Johnson 459,000
Roy Hong 459,000
Julio Marroquin 459,000

Respectfully submitted,


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ZakarchealisaNewbemMazzari Bey All Rights Reserved ARR: UCC-I308
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Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 7 of 32 PageID #:7




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Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 14 of 32 PageID #:14




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       nor doctrinc, bccaucc it is thc suprcme mental doctor
       ttsetf for thc cntitp human family, womin and rnan

       l)   Thus the tnrth ie, the Sistsrhood Chrfutisn DaugD-
            tets of thc Anrbrican Rcvolution, (D,AR.)' Gstab.
            liahed the ma,rirgc licansc statos right codo to pne-
            vcnt the Moorish men and women ftom marrylng
            into thoir Magne Chetta society of White Suprcm-
            rcy.
       2) Did you €t,er stop to think that womsn and mcn arre
          atruady married by the Supreme Law of Natuc,
Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 16 of 32 PageID #:16




           and that a marria3e llcontc ie am act of violatlon of
           Orc law of Natrrro? Thc Nrtrrrat. L.cw Union bc-
           twcGrl wo,rncn and. tncn spcllc lbvo and thc nrpno-
           duction of a ehlld In which a marriago liconrc playe
           no pcrt in.
      3) Dcflnitcty thcrc cannot bo any tllogidmate ahildren
          ofrsprlng firom worncn and mon, becluSe woman is
        ' thc sulrrcurc gato of cruatlon of bottr analo and fr:
          rnalc ohildrqr bD, 6c law of nrturr, which spolts
          I.S.L.A.M., or; l, Solt Lanil, rnd Maetor, thc Car-
          pon$r and tbo Grand Archttccttrrc of tfrc .I{uman
          Famlly. "Adem- mcenE ttrc prltlvo forocc ln
        . vvomrn and'rotlr recpo,rroiblc for cvolutioa or tlrc
                        of shildrcn by tho lanv of natuno. TIrc
       ' reproductlon
          Popcr, Pr|cats, the preeeher, and Judgee of thc
       . Chrtsttan cocicty &6nttoly oennot txovo ttrat thoir
          "Adtm" anrd "BvG" had a marriage tlccnsc.I)ld you
          Gv€r gtop to thlnk tlr* the rrarriage liaencc codb ig
          an act of colllng womlco and m€n back to thcrn-
           eolvus?
      Thc [-Iaion, lvlagna Ctrrtta rmarrtigi liccnro codc unfor-
      trrnately and unconsciourly oausod thc l''Whlte" womsn
      to bc cut ofi ftom tlro humsn farnlly (Tbc Moorlrh Nr-
      tlon). In oiltor words, tlrc "\Mhito" womon aro c$piorno
      social llaves tSFincG thcir will and deslro. Thls has
      cauccd tlrom to carr5z in thoir nrind and hoan e sGcrct
      Borrow and anEprr rvhich eaurc! thoir ethildrgn to inhcrlt
      e tcndency'of erimo, hatncd, insenlty and variouc other
       dlscascs




                                 -{-
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                                  grfur-r.t
                 Suprenc Strndard of thc Zodlee
                       Mirdryc Lrw (Culture)
      Herc sre thc elomsnts of the Sign$ of thc Zodiac and
      womcn and men's opposite signs involving ttre frrst
      mariago of thc Trldlae Lew of Nahrrc.' No proacher
      and- inoncy-irrd. ticenec and nclttier'roliglon ic nlccscary
      in'tho Etsndsrd zodiac mariagc !-rw.
      fn Hlu'mon;t ivith Nn(irrc
      t. Aries is Firo and Ltbrrr is Air.
      2. Taurus is catth and Scor.plo ie Wsbr.
      3. Gemlui Is Alr and Sagittnrius is Firr.
      4. (lancer ig Wator and Ce;rricorn is Earth.
      5, Leo is Firo and Aguariu* is Air,
      6. Virgo is Earth and Phces is Wator.
      Ihc 1863 Unio,n Bible Story of 'Evc" and *Ad'.m"
      werc foqnded upon the Moortsh Zodiac twolvo signs
      law, the ncgativc and. tAe pocltive forgos of nattrrc

      In tfnrmorr!'    Tvith ltature:
      l.   rlries ie flrc and Gemini is eir.
      2.   Lco is ffuto and Libra ls air                  :

      3.   Sagitterius is fire and rtrrlrrurlus is air.
      Pcrsons bom under the opposite signe and the snglc
      signr aro in harnrony with onc aaotlrer in ovoty mannor.
      Thirr frst hand knowtodgc of th0 sign undsr whlch you
      and your mato wcrE born wilt guldq your dcrtiny in
      pcrcG, proglcrs and heppinesr forcvep, kt us na6om-
      bcr that thir is not a theoty. Tho Zodigc ir the absolurc
      univotnal standard of ruerriago' and human guidaoce.
      Woman and man wtll know their duty toward ono an-
      other end thcir childrcn withorit boing forced'b;r thc tra-
      ditional ccide for firc couft room.
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                            Artlclg(r
      TDo One Add ogB tlilvcnrl Monl l,rw for tlnlty'
           Ptrcr rlod Economlc Aud Socld Prugrctr.
      Tlrc Moorieh Zrldiac C6nstihtlon ir ths only Univorcel
      Unchengnd Mornl Lrw For The Humrn Family, For
      Unity, Human UquilltV, Rcrpect'PGice 4nd Econoinlc
      and Soolal Progiroes. .TtrdrcforD ovory Mobr, thi Bcyr
      aod Etc, rnult bc Suidbd by fii aonctltutlon,'and book
      "Clock Of f,lortlny', do ttut   which is rtght by rceron
                                 rWhitc'r hu'rodtptt and clti-
      and hsvo rcepoet   for
                    -Mqgrra  ttr
      ?Gn of ttro            Chuta Unlon $dolcty of the 5O
      Stltsr, In udcr to dommd rrrpcot ftom thotrl.
      Thc "Whito" Pcoplcs of Ore Unton a$a guldod by thoir
      Magna Chara tradltlonr and custorrr, and ths Moon
      arc gutdcd by tho T.odiiac Coortitudon f,aw, Nowr tho
      lcgg, thoir ouatomc and traditionr, lnaluding ttrcmdvc1
      mutt bo. rrcrpcctcd by tho Mooir, wlthout rubmlttlng
                          of tho Mrgnr Chltta eustornr. ThEt
      thcmrclwr tq.rny-ttro
      whlch ir rrnrod        Cnrimiair t,ew is, A rule of rctlon
      rceordod on prpcr sd rupporhd by ruthority and
      foreG. Tho Zodlao Law of Nanrn, ie $cord.d lo ths
      whdom of *omron and mon, and rupportcd by rnorrl
      lntollignns{a, Tho Oroatort     Llw.
      Knowlodgo of T*drisa lrtrronry as chown ln thlc Moor-
      lsb.Corutltutlon, cnd elrc iqr my book 'ttosk of Dcg-
      tirry" Votumc I and 2, wlll prtvenf a Moorith Anerl-
      csn, Ho or Shi, ft,om indutlint in orirno. Ttroy then
                                  .

      rrould not hrvc to cppcr in thp court tootn to ilend
      rial. Shoutd a Moiirilh.qmcricin who has, thle CoIsti-
      Rrtion and Book I and 2 indulgn iin crirns, suc.h Etl oEr-
      iotica, robbcry, forgeqr, prortitution, illcaol whialqy or
      aloohol, lllctnl achcmss. grrnbting' pcaso broaking
      vlotence and dlgrctpect for thc law of thc City, Coun-
      try, Stttc aad Foderat, thcy thnn hrve lncrirnlnotd
Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 19 of 32 PageID #:19




      themrolvoc and thbrofsro witl bo penallpd. Thir Gotl'
      stitution, cald aird book doflnlety" dobs not PdotGct
       crlminalr. Eewirc.              '

       Th; Clock'of DestittT, ll4qrortsh Americun Corul of litenti-
      tlcaltou ottd Cotrstlfittlon has heetr reglslereel ln lhe Li-
       braq, oJ'Congress nnd slgned by lltbAuthor; C'IW. Bey.
       A Moorigh Amsrie.n efit$ot bc conviotcd on falg6 ac-
       oueodoa Eamo-up clrrrger, Tlrc gvldcrrcc egetnrt e
       Moorlllr Amerlsan Murt bc conordo ptoof boyond a
       dradow of doubt. TItc.Moorltlr Nciron of f 5O,O0O,OO0
       (1951) of thc IU.S.A. rhdl not bE &rtnoyod for lrok of
       truth snd lsnowlcdgo of,tho Lrw rfid censtllutiop of thc
      Moot!.                               t'

                           Artlcle ?
          Tho }Ioor{li Anorlcrnr Fraodom rud l"efrt               lt
                The Chd.tlrn Udon C. ourr RooE.
      In tha Chrl$ian.Unlon Cotrf Rootn, thc Moom ornnot
      bc fupod to Eruovr thclr Rod Fez ftom Otolr hoadr, nor
      cm thcy bg forcGd to,ralrc &olr hnnd snd trkc en Orth
      ovGr tho Chrltthn Blbb.'Nolthor con' Moonft thc'Brrye
      .nd Bb, oploy 'rslhlE" or't-ItgroS lawliur to rcpr
      ront thon. ilro rutlon for.thlr lr ths lsrtrltc' Pooplo
      and lhclr t',Ioglo" glavcc dofinitoly caonot rcpmccnt
       fioo Moorlgh Amodcans.
       Ttrc Ncgrc ir the'propGrty of ttre Unlon Stevo llbldors.
       ThG Mpolrr muet rcrpoct thc 'court.by raying "I !ffinn".
       Hac tha conrt has no jurtlatt€tion ovor thom' wtrlch
       autorilBtleally meltor thsm qualificd to dofcnd &crn-
       relvoe by thGlr Zodlac Conrdtutlon Law md tholr
       mathcmatical numbor nlnc (9). Tho numbcr nlnc (9)
       cotloipoods wlth Orc lottcr I' bercd on ttrc nino montlrc
       from coo€option to birtlt' which makcg yolt, yoursclf'
       The (heat ..I Ant", tho first and tho htglrort hw'of rclf

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       pr.ot ction and sclf Prretortvation in harmony with yo.ur
       2odho 12 eig4e unotrangod constihrtlon l\doral I*w of
       360 dogr€cs aquarcd by yorrr nurnbcr nlno (9).
       The Moorlstr ?ndlrc Congtittrtion ir rcfcrtld to ln Clrrls-
       tian m)4holoEl tlr 'Ths Holy Kotan" or, "Al Koratl",
       mcaning thc earth, ttrs moon, ths run and thc scvon
       planoto or tho ChronoloEr Zpd,lgc Rocotd of tho Moor-
       ish Nafion of tho North Oaio, North Amorlca. Tlri3 oannc
       *Moharirmed', Prophel Rcllglon, God, Church' TGttt'
       ple, and Morque, went csbbltrhcd by tho Dutch-An3[o
       Saxon Priorthood Franolroan fbthorr of North who dcr-
       thrrow ths Moorbh Socioty of Iclem bdwcon 1789 and
       ths unlon of 1t63.
       Tho Moorr, thc Bc5ru and Blr, mugt novcr attomPt to
       tG.ch or lccfrltu ln Oro Chtiitlan Institutiotls, namoly,
       Chtuch, Tomplo, Molquo, Sohool, and Hell. Thic ls e
       vloldloo of flio Unloir Sootcty Sarg'riel$ I\drgn8 Cliarti
       Codc of Mery end Chrtst ThC tnith of tho Moorlgh 7a-
       dlao Conrtlnrtton l-ew rnd morral hurnerr prtnotplcc'defl-
       nitcly oonfllots with thc Ghrlgtlen'Unlon eustoms and
       Doctrlno of tho Magnd cha$la ftrom cvGry angle. Nor do
       not oritioiza tho "3Whitc" pcoplci botlcf ln tho rtetidoo of
       thsir ro,n and vuom€rt Lmgc' Nor do uot cvcr atEmpt to
        lnfluonco tho'\ryhttc' pcoplo to acooPt tfr onl tnrttr end
       princlplcr of your 12 rlinr Zodlas Conrdhrtlonal Llw'
        bcsrucc tho Mrgna ChartE lr a Ladn phnrc moanlng
       Magnatc Cherta of '3Whftc" trrcoplce coonomlc^ and ro'
       eial-attraction onlS whlch htd tts bcSfnninS, ir the Colo-
        nioq pf Ohto, Mlchlgann Indlana and ltltnolr ln 1E4E and
       It54,         ,       . :.
       If thc lewmakore of ths 50 Unlon Stdsg Sooicty of
       Norttr Arucriog should attcmpt itr lgnorrB th3 Moorlsh
       Anrerlcan'c Zodlac Law and blrthrlghts of thie constihr-
       tion, it would bo an. act of auprsmG violation of thcir
       own Mejne Chrrae.Codc.
                                       tl'u ,,ltialkttnr ,4.s Saluonr
Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 21 of 32 PageID #:21




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                                             I -l.s.L.A.M.-9

                                       LAWFUL NOTICE!
                 r* - NAME DECLARATION, CORRECTION - </
                      PROCLAMATION AND PUBLICATION

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 I             Divine   N"tu.""
   do Dcrlare, and Proclaim, upon             Law; upon                Larv; upol Universal .l'aw;-upon my Moorish

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 ii.iaffif;'frr;#;.
               nJti.lrion Societv'ug4    Statcs                                                    m"*^Y^rfftt' -
 designated under the colorable, Ward-ship name'                  ^uoinpg'ig':#N"*
                refute tne
 and do hercby relute       said Mlsclasslllcatlons
                        the salo                                   making it known to the
                                                     and rfauu)' rrr4rrrrg,
                                 Misclassifications anQ                                             ; and Publish mY
                                                         I         and   Aftirm   my  true, 'Proper Person Status and
 corrccted Frec National Name, Anributc and Title.         Declare
                          Reclaimmy   Rightful   Social and Cultural i,ifc  of thc State. My  Dcclaration. Corrcction'
 Hstate, and assertivcly
                                                                                                                    of
 Fi*i"r"tion and Publication ot* iri sanguineous and harmonious aecord with my ^Moorish .Nationand
                                                                               Having Lryfulll' Dutifully'
  Northwesr Amexem / North America - icknowledling my Birthrights'
                         proclaimed  my Moorish Natiorialiiy ard  Birthrights, Name and Title; in harmony with'
  r-"i"iri OU,"ired anrl
                           in        with Divine Law; the archaic   Customs;  and the Laws, Rulcs, and Usages of
  in association with, and    Accond
  ..Thc Moorish Divine and National Movanrent"; being Aboriginal and lndigenous, and bound to the North
                                                            girttt.igt t; by Natural Birth; by Freehold; and by
  American Continent by Hcritage, by Primogenitu."; 6y
  Heirship lnheritancc'

                                                       RE'cord, and I am retuming the European cognomen'
                                                                                                         brands'
     My Right of Claim is 'Declarcd' for thc Public
  and fictitious misnomer(s) back to the Colonial possessors of
                                                                their construct and pedigree' llm 1ow Rightfully
  and concctively   Declaring, Publishing, and Proclaiming  my  own Free National Name; Aflirming my Actual'
  Rightful, and Civil     p'ult Life' Sdrus; ConjoineA Io niy U99.r'lsfr.Amcrican Consanguine Pedigree and
                             'ln
                                                                                  Resolved that: l Am
  National      Honor. -l,ct it . be . Dcclar.cd' Known,,, Published, and
                                                                                                                         j+
  #g,ir;,,aH-LjilNffi-!!*rur-*?dt*'ri;.p6q;il,H:*;T'",H,?,
           Or'rHB rOrrrrbN, IMPOSED COi'Oi-5T'T-AW' COI.OR O}: AUTHORII'Y,
                                                                           NOR BY
  IMPOSITION
                                                                   PROCESSES of the foreign ljnion States
  ANy ASSUMED        OR COiOnegt-'E JURISDTCT|ONa OR DtJl':
                                 at Norlh America / Northwcst Amexem; pursuant to' but not limited to:
  Socicty pcrsons doing busincss

           I.      FREEMOORISH.AMERICANZODIACCONSTITUTION:
                                                                                     - being         Ali, Bcy' El' Dcy
                   (Zodiac Conrtiiutinn and Birthrights of the Moorish Americans)
                       AI, affirmed and supported  tiy Article two (2)' Paragraph two (2)'
                   and

           ?.UNl'l'tsDST^TF:SRL]I'UBLIC:D[';PAR'l'MEN'l'OtiJUS'l'lCti:
                                                                    TRUTH A-1'
                Moorish Amcrican Crcdcntials: Copyrig'ht AA 222141-

            3.UNl'l'l-:DS'l'A'fESSUPRT';MF:COURT:SUI'REMELAW-ActsofState'
      *;;d;;;i;;iu,*"**.;""pil;r;;;';;;;;i;*";;;;;;;d;';;;;;T;;;;;;;;;;;;'*'""f'--;-
             --conrinentar   ,"u"Ji.,ii"i.,il;i,$#,#i:*xll,;Tmi:,L,             -   Residcnr, Non-subjccr- Bcing rhc



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                                                                 ...1"'v.

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                                                                                                                         i,.ki#trr




              4.        UNITED STAI'ES CONSTITUTION: Article III (3), Section two (2), Amcndment V (5)
                        (Liberty Clause) and Amendment lX (9) (Reservation of the Rights of the People).

               5.       HOUSE OF RUPRIISENTATIVES: RIISOLUTION NUMBER SEVENTY-FIVE (75):
                        Dated      April 17,     1933 A.D. TIT[.FD, *MOORISH-AMERICAN SOCIEIY OF
                        PHILADI,I,PHIA AND THE USE OF THEIR NAMES".
               6.       UNIVERSAL DECLARA'|ION OF HUMAN RIGHTS                                 _ UNITED          NAI'IONS                      -
                        HUMAN RIClll'S [Article Fifteen (15)J.
               7.       RICHTS OF INDTGENOUS PEOPLES                   -   UNTTED NATIONS: GENERAL ASSEMBLY
                        - Part l, Article 4, Article 5.

         International Lsw: Moorish - Americans, being the rightful lleirs and Aboriginal and lndigenous Natural
      Peoples of the Land, have and exercise the divine and natural rights to proclaim our Attributes, Names, Titles
      and Nationality.

         Iyloors / Muurs have and exercisc our divine and natural rights to live in freedom, peace and security as
      distinct Peoplc and to full guarantees against genocide or any acts of violsnce, including rhe rem-oval of our
      natural birthed seed or offspring from ou. famiiics and communities under any prctext. In addition, Moors have
      the individual righs to lifc, physical and mental integrity, liberty and security of person.

          Moors / Muurs have and exercise the divine and natural rights to revitalize, use, develop, and to transmit to
      our future generations their histories, their languages, oral traditiors, ptrilosophies, writing system.s and
      literaturcs, id to desigrrate and retain their own n"rn"s fot communities, places, and Person' States shall
                                                                                                                     take

      effective measurcsJ whinever any    rights of Moors / Muurs  may be threatened,  to ensure this right is protected,
                                        -can-
      and also to ensure that they            understand and be understood in political, legal and administrative
      proceedings, where necessary ihrough thc provision            of interprctation or by other appropriate means.

         whererore,       r,2-aLnrAu,Li&        NU,lbCn UQry!|fl4"rnrHeir to the Land and'Part
      and parcel'nan,"a-ffiiiffifEiffight]W-i'rcehoia, by Primogeniture, and by Heirship lnheritance,. stand
      with assured competence, una rn*J a' t-awful and Ligal Entry ol Afndavit and Public Notification of
      Nationality proclamation; Name Correction Claim; Declaration; Affirmation; and Application
                                                                                                                                          -   Herewith
      made known and Published for the 'Public Record'.




                                                                                                                                               Nfih   Cane




                                                      Witness:                                                                                     Hsrd6
                                                                                                                                Sui ruris, Sui
                                                                                                                                      /'Thc Nolth     CBte'
                                                                                                                           Sm: All        RighlsRerud




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           i/."                                                    Pagc2of2
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                                                          \> -t.s.L.A.M.-\*

              o - tudicial .ffotice and Oroclamation                                                                - <r
         9o m Ehcted, all non-ctec'tcd rnd to all rppointed United States Repubtic Ollicials,
    Public Servrnts, and Officers of Trust, etc., doing business as, of, rnd for the Federal' State'
    City, and Municipal Governments; including their Personnel, their Contractors, and their
    other associate Corporate Entitics doing business et North America; snd to ell 'Third Prrty
    Intertopers' or Contrectotr, etc.,: Concerning their Fiduciary Obligations, their Oflicitl
    Oeths, and their Duties enumerated in the American Coostitution, adopted for governrnce of
    The United State Republic; all Binding Trceties; the Established Law of the Land; and all
    Strtutory and Civil Law Codes of the Lrnd, etc., Know All Men by These Publicetions rnd
    Prcsents:

        Upoo my Heirship, inherited Nobility,                      and                                                      Proper       -
     Person Status and Commercial Liability, I,
                                                                                                     ,zqrn:                              fel
     being duly Affirmed under Consanguine Unity; pledge my National, Political, and Spiritual
     allcgiance to my Moabite / Moorish Nation - being the archaic Aboriginals / Indigenes of Amexem
     (he\nericas); standing squarely affirmed upon my Oath to the'Five Points of Light' - Love,_Truth'
     peace, Freedom, and Jtitice; do squarely Aflirm to tell the truth, the whole truth, and nothing but the
     truth; and having knowledge       and firmly - established belief upon the historical' lawful, and
                                   -herein.
     adjujicated  FactJcontained            Being competent (In tty Own Proper Person) to Anest to this
     AifiOavit upon which I place my Signature; Whereasn I State, Proclaim, and Declare the following to
     be true, cotTect, certain, compl"t", n"t misleading, supreme' and not intended
                                                                                     to be presented for any
     misrepresented, 'colored' or improper usc or purpose, to wit:

        gh.t r,       ? q1a,rlr,                    LtSa Ne ,bpC MALATfi' fu,                           Am a Nobre of the Al
     Moroccan ffi                frumn ,errr*i*l n              Propria Persona (my own            pra*r,sery: being Mggri.sh
                                                                                                Freehold' by.
                    - an'Heir and Descendant of the Ancient Moabites / Moors, by Birthright' by
     Amcrican
     itrir"g*it *         l"i;;ih;;
                          and by             ueing  euoriginal and  Indigenous  to the  Land(s\ (Amexem                              /
                                 llerJitaments oimy nnlient Moabite / Moorish Fore-Mothers and
                                                                                                       Fore'
     e^rrf"O   Tenitorium
     Fathers - to     wit:


                                                                 lslands (Americana / Ameru / Al Moroc).1
      South America; Central a,".i"u; including the adjoining
      have, I acknowledge, I            t possesi, uy ni saia l-nheriance and Primogeniture, the Freehold
                                                   ;i
                                        "dil
      Status thcreto; all Unalienable and'substantive Rights,
                                                               to Be, to Enjoy, and to Act' distinct in my
      Aboriginal Traditions, customs and culture; and detcrmininS
                                                                           my own political, social, and
                                                                                       back to my Ancient
      economic status of the St"r.. i   tuming  my  heart, my allegiance' T9 Py mind
      Morhers and Fathers - Moors /"* Muurs, with cognate tronor, anO by Divine and Natural Right' Being
                                                                            Moabites, we have and possoss
      rrroorirt Americans, the direct Heirs and Descendants of the Ancient                    and proclaim
                                                                             and Resources;
      the Divine and intcmationally recognized Rights to our Hereditaments
                             ouio*n   .oiiul, e*n6,,,ic and political life and'St'tus of the State'; and in
      the right to determinc

        ffi                                       Doc**u: Jyodhw*r ,,mxom / ,yotih 4frio / ,lr'orrh 4msia / 'trhe loroccan &npirc'
              _ contfulentsl united   stu"s,   c"rpl";irh" loon and.gun': Non - Domcsrig Non - Resident, Non'suqiect - Being the
                                                        Rightful Hcin md Inlpriton of the Larxl'

                                                                     Page   I   oft
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   harmony with 'lntcmational Law'; and with such 'Rights of Claim' being absent of foreign - law
   thrcats, cocrcion, or acquiescence to a Color-of-Law, a Color-otoffice, nor to be subjected by any
   occupying foreign persons to any imposed frauds, 'nom - de - guerre' or Color-otAuthority.

    .l{rrorc t ll,@rinh (Imericans / JGrurs Have, Proclaim and Possess the Unalienable          Rights,
   Substantivc Rights, and Birthright - lnheritance to our ancient pedigree traditions and Customs, and
   thc Right of Claim to our Al Moroccan Attributes, Name$, and Nationality, substantiated by, and
   supporte.d by, Nature's Laws, by Divine [.aw, by Primogeniture, and by the rccogniized Laws of the
   Nations of the Earth (lntemational). Being the true, Ancient, Aboriginal / lndigenes and Hein of the
   Land (imexem / America) * 'The North Gate', being the geographical heartJand (Maglrrib) of the
   Moroccan Dmpirc. Moors / Muurs arc the 'De jure' and rightful Freeholders by Biilhright, by
   Inheritance and by Primogeniture Status; and have by those Inherited Rights, Descendible Claims.
   Note to all Comers, that we (Heirs of the Landl Possess the Secured Rights to Travel upon the L,ands
   of our Ancient Fore-Mothers and fore-Fathers; upon the Public Roadways, upon the Byways and
   upon the Highways of our Continental United States (relating to the Organic Land) and absent of the
   genocidal, fraud * based extortion tributes, and l-luman 'lraflicking imposed by foreign 'colored'
   lnquisitionists,       or by their corporation         -   imposed excise taxation constructs, invented by the
   racketeering, anti-constitutional, foreign States' Legislstors, constructed under color and styled to
   abridge and to steal Substantive Rights belonging to the Natural Peoples. These Substantive Rights-
   are supported by, and asserted by, Royal Law; Moorish Law; Moslem / Muslim l"aq The Law of
   the Great Peace; The Laws of Naturt; Divine Law; Nature's God; The Laws of Nations; The Free
   Moorish Great Seal Zodiac Constitution; Stare Decisis; Res Judicata; and bindingly Affirmed by
   Articles III, IV and VI of the American Constitution Covenant of 1774 - l78l A.D. = and Treaty
    1200 -l M. C., as lawfully adopted for The United States Republic, establishing its Republican Form
   of Government. The said American Constitution established the Peoples' 'Suprcme Law of the
    Land' standing upon the principles of moral govemment to secure the Righs of the People, and to
    keep limited doulrr*t-op"ratives bound and in check by Ofiicial Oath, and by Oflicial Bond. Let
    it be known that: 'Down from the Ancients Ones, (our Primogenilors) came the Allodisl Isonomi
    Principles which established the Suprerne l-aw of the Land!'
        tgtpt, (Hikuptoh) is'The capital Empire of the Dominion of Africa'. The tnhabitants of Africa
    urc tt O"r""ndants of the Ancient Canaanites from the Land of Canaan.
                                                                                    The Moabites, from the
           "
    Land of Moab, who received permission from the Pharaohs          of Egypt  to settle  and inhabit North-
    WJ Anio; they were the founders and         are the true possessors of the.present   Moroccen    P9pit"'
                                                                           with their Canaanite' Hittite and
    l-his includes Algien, tunis, Tripoli, Mauritania, and the Americas,
     nrnorite brethren-who                  the Land of Canaan seeking new homes. Their Dominion and
                                   r".i*ifi'no,
     Inhabitation extended from   North-East  and South-West Africa, across the great Atlantis' sven unto
                                                                                 and also Merico and the
     the present North Amerio, south America and central America;                    great Atlantic Ocean'
                                           the great earthquake, which  caused  the
    Atlantis Islonds        fe^"ri"riibefore
                                                                and Insignia' of The Moorish Nation /
       the .Grcat scd pyramid, is the 'National Emblem
    Empirc of North America (geographical loclttign).The
                                                                creat.Pyrattid.(equilateral) is also the
                                                                                 acknowledgement of our
    archaic symhol for Civilization l-n tfi. pm"t  Earth. The honorableMoors'
    .Great Seal' indicates those Heirs who own up to, who sup-Por! a1{          w.lro poctaim'-o.ur'Free
    National covemment'. t"tooo *r,o are 'Active'        *o  Nor   ''Passive' in the  social' civilization'
                                     involving   Law,  order  and Govemmental      Principles, are hereby
    culture and custom mstt€rs,
    entreated to support tfris affirmation. Li'*o /
                                                      Muurs who strive toward this end' with honor' are
              by Noble orer" nri, to     help in the great humaniarian wor.k of uplifting ourselves' our
     entnrsted
                       *a num"rity; 1i,';.*;,             tfr.   *n}io*    Heirs, seek, at all.times, to be cognizant of thc
     fellow-man,
                                                                     to teach, to preserve and to defend
     civilization works, instructions, and progessive ""t" n"*t*.y
     ii" N"-iion"lity "nd Birth.igh* of ell l{oorish Americans (Al Moroccans), etc.
                                                                                 / Citizens of the Ancient
         $hc Noble Moors / Muurs (Ileirs Apporenr) are the Natural Members
                               (North Aneriii / 'The North Gate')     ar|(J are by  civic and social duty,
     Al   Moroccan Empire
                                             Docurcns: ryorrhwcr (lrncxem /   .,vonh {!fri€ / ./yofih cmqie / '3h Jloroccan &npirc'
       ffi                                             loon srd suo': Non - Domcstig Non - Rcsident' Non-Subjet - Bcing tlrc
             -   continmtat Unitcd sbrcs: cemplc of thc
                                                   Righful tleir and lnhcriton of thc lad'
                                                                 Page 2   of8
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                                                             ...,1r,,.   V"




   bound to recogniz.e and to support our'Great Seal' Sovereign Moorish National l'ederal Govcmment
   and consanguine Nation of the Natural Pcople. In our relation with others, we command the
   enforcement of our Al Moroccan Constitution. Thus, such organiz.ed communications and Ordcrs are
   refcrrcd to as "'l"he Creat Seal National Association of Moorish Aflairs". 'l'he l"rec Moorish Nation -
   inclusive of all the Aboriginal / lndigene 'l'ribes and Provinces of the Natural Pcople, etc., are the
   rightful bearers of the Attributes, Names and Noble Titles. Ali' El, Bey, Dcy, and Al. Thc Free
   Moors / Muurs, by Freehold Inheritance, retain all Substantive Rights and lmmunities; enjoy the
   exercising of all Substantive Rights, and operate upon consummated, Right-l,aw, lsonomi -
   Principles; having pre-existing, vestcd Constitution and Treaty - secured Rights and lmmunitics
   from foreign - corporate TAXATION, and from forcign, Criminal and Civil Jurisdiction by, and of,
   the colonial Union States Rights Republic U..$.1., (private corytrution and persons) pursuant to, but
   not limited to, Divine Right; the United Statcs Rcpublic Suprcmc Court; lnternational Law: and the
   'Acts of State' to wit:

   "Every Sovcreign State (People) is bound to resped lhe independencc ofevery other Sovereigrt
   State (People) and the courts o! one countt ) (Peopte) will nol sil in iudgment on the acts of lhe
   governmcnt ofanother, donc within (the same or) ils own tenitory..."
      the   present Union States Municipal and Civil Laws and Codes imposed upon the Land are a
   private-   law, 'incorporated unit of self-govemment' established by the political powers of the
   i6eneral  Assembly' of each State of the Union; limited and bound by Article IV, and initiated at
   philadelphia, Pennsylvania, North Amcrica" in the year Eighteen fifty-fbur (1854). lt Eoverns
   .ONLY; thc rights and conduct of the alleged "WtIlTE PEOPLE , Christians and Jcws, of the
   Eighteen sixty-threc (1863) Union Stat€s Rights Rcpublic, under the Magna Charta (fhe Great
   Ciarter), the Knights of Columbus Code, and the Ku Klux Klan Oath. Forcver, the said'Union
   States ifignr Republic' denies citizenship in the United Statcs Republic A.S.A.) to the lleir
   descendan-ts of thi Moorish Nation in the Westem Hemisphere, who have been enoneously refened
   to, .branded as' and mislabeled as, Negroes, Blacks, Coloreds, and African Americans, Latinos, etc..
   etc. In addition, the Supreme Courtof the United States (,n the landmarkcase) of "Dred Scott
                                                                                                         v.
                                        (1857)  held that Negroes-whether    held to slavery or free'- were
   Sandford" 60 US f/9 Howard) 3g3
   not included and were not intended to be included in the 'category' of 'citizen' (subjects) of the
    Union States Rights Republic. Resultantly, theTrue Indigell Nobles.of the-Al Moroccan
                                                                                                    Empire
   (Free Moors), b-earers of   the Attributes  i Names    / Noble Titles, Ali, El, Bey,  Dey  and,A]'                           .:
    excluded from the Union States Rights Republic (U.S.A.)jurisdiction. The True Nobles
                                                                                                  of thc Al
                                                  -Privatq
    M;;;,      Empire are Sovercign,               and belf-Coverned, by 'Right-Law' Principles and
    customs; and ONLY Obiigateaio'the'Free Moorish Zodiac Constitution'-
                                                                                       Circle 7 - archaically
                                                                          Such   extended    allegiance and
    established by our anci-ent Fore-Mothers and          Fore-Fathers-
    ;d;li;;,i-' in"tra"r ,rne dieat ieat' and the High Principles and Moor-al Standards, embodied in
                                                                                 arrd Justice. The True Al
    the Moorish National Flig (Standare - Love, Tirth, Peace, Frecdom,
                                 of the tand  maintain a constitutional and  lawful,  NON-OBLIGATORY
    Moroccan Noble    lndigene-s
                                                                                      (lndigenx N?Lf!ie!)
    tax .Srarus, and position, relative to all 'FOREIGN ENTITY TAXATION'
                                                                      States Rights Republic (u-sA'), its
    and maintain a NoN- cirir.icerony respect for the Union
     members, its laws; its ordinan"es; its codeq it customs and
                                                                     its traditions, pursuant to:-The lree
    Moorish American ZoOiac Constiiution ' Articles IV and
                                                                   VI; 'l'he Treaty of Peace and Friendship
                                                                                         87)' superseded by the
    Between the United statesand Morocco -seventecn Eighty-Seven^(/786        'the --
                                                               Journals    of         House  of Representatives,
    i*r,v iigr,teen Thi;y-$; fla:o). nesorulion            75:
            "i
    adopted for the United  Stites - eprit fZ, 1933 A.  D. - Moorish  American       Society of Philadelphia and-
    the use of Their Names. Reaffrimations have bcen madc
                                                                  via  The    United   Nations  "I)eclaretion of
    ;; Riil oiir," cr,1o,ic-ri"*r       assembly   Resotution   l3s6  (xr9,     14 u.]{. GAOR Supp. (No, t6)
                                                                                       Declarations on Human
    at 19, U.N. Document XaiSi ifSSS); Tn1 Unitea Nations "Unive.sal
    Rights,, Articlc xv, c"n.*r       AssemLly    Resolution   217  A   (lll)  of    10, December 1948 A.D.;
                                                             Nonh  America     --l'hc lmplcmentation    of Hurnan
    "f,xecutive Order 13107':-Unhed States Republic,
                      'Ihe Nationat  Constitution for the  Continental   United    Statcs, Article III' Section 2;
     Rights Treaties;
                                                                              of the Rights of the People; The
    Amendment V - Lib;t Clurr"; Amendment lX-Reservation

                                                                              I nonh affi@ I Jy6th ametim  / '.rhc lorucan €mpirc
       ar"rigl*r -J y",ri8em6     ,@pl€s, Docurerts: Jvorihlwst omxcn
              Continental Unitc4 $ares: Semple   oirtp.ttoon *O   Sun': Non   -Domcstig Non'- Resident' Non-Subjcct - B€ing the
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                                                  Rightfut Heirs and lnleritors of 0re Lsd

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                                                                    t
     United States Department of Justice Moorish Credentials; Free Moorish Z.odiac Constitution, Truth
     A-l Classified; The United States Copyright Certificate Number AA222l4l Clock of Destiny; The
     Mrxrrish Nationality and ldentification Card; Moorish Holy Temple of Science / Moorish Science
     Ternple of America ldcntificuion Cards, etc.

        furthermore, I Assert My full Birthrights - Sovereignty and Subsrantive Rights and my Right of
     Claim to all Hereditaments - Being a Sundry Free Moor / Muur and a (Natural Eeizgl distinguished
     from all and any spurious constructs, creatd by the foreigners, or by their agencies, pursuant to:
     Moabite / Moorish Pedigree; The Free Moorish Zodiac Constitution; Thc Great Seal of the Moorish
     Nation (16 Antiquo); The Treaty of Peace and Friendship - 1786 -87 I 1836; The Sundry Free
     Moors Act of 1790; The l78l Oryanic United States Constitution; The Moorish Federat Financiers
      Act (Ilnion States Army: 186l -1863);'lhe 1854 Roman Catholic Magna Charta; the Knights of
     Columbus Code: The Ku Klux Klan Oath; The United Nations Charter, Articlc 55(o); The Righs of
     Indigenous People: Part l, Articles 1,2,3,4,5; Part Il, Article 6; Thc United States Supreme Court -
     'Acts of State';'l'he foreign Sovereign lmmunities Act 28 USC l60l; et Sequa., The Convcntion on
     International Road 'Iraffic -Day 19, September 1949, The World Court Decision,
                                                                                              'l'he Hague,
     Netherlands - Day 21, January 1958 A.D      :   1378 M.C. In reference to the Rights of the Natural
     Peoples and of their Substantive Rights,  etc., the following are pertinent and cstablished Supreme
     Court Decisions, (Stare Decisis and Res Judicata) to wit:
       t. ftre Right to Travel; The Right to Mode of Cnnveyance; The Right to Locomotion are all
     Absolute Rights, and the Police can not make void the exercise of Rights. State v. Armstead' 60 s-
     778,179,end1E1:
        Z. fne      of the highways for the purposc of ravel and transportation is not a mere privilege,
                     use
     but a common and Fundamental Right of which the public and Natural Bcings cannot be deprived.
     Chicego Motor Cooch v. Chicego 537 lllinois 200, 169 NE 22, ALR, Ligare v. Chicago f39 ILL'
     46, 28-iIE 934, Boone v. Clerk 214 S\ry 60?,25 AM iur (lst)' Hrghways' scc' t6l:
        S.gtre Right to Park or Travel is part of the Liberty of which the Natural Pcrson, citizcn cannot
      be deprived *ittrout "due process of law" under the 5th Amendment of thc Unitod States
      Constitution. Kent v. Dutles 357 US 116' 125:
                                                                                                   propcrty
         l. lile   Right of a citizen to Travel upon the public highways and to transport one's
                                                                            rvhich a city  may  prohibit  or
      thereon, either by carriage or automobile, is not a mere   privilege,
      permit at will, but *rri''on night,    *tti"n]r91-she has under   the Right to Life' Liberty' and  the
      i'unuit of Happiness." Thompson v. Smith 154 SE 579:
                                                                                                       etc''
          5. Stete Police Power extends only to immediate thrcats to public safety, health, welfare' v'
                                                                            speeding are not' california
       Mictigro v. Duke 266 US, 476 I.{i.. At 449: which driving and
       Farley Ced. RpL 89,20 CA3rd 1032 (1971):
                                                                                 v' city' 445 US 662                                     (1980);
         o. glestate    is prohibited from violating Substantive Rights. owens
                                                               which is, for example,  prohibite&xprcsslyto
      and it can not do by one po\uer (eg. Police iower; that
                                                                                taw'      and UT v' Danielg
                             1"[. f*"i!!    / Eminent  Domain)   as a matter of       US
      any other  such power
                                                                        Fairbanks v' US                               lEl'     US 2E3' 294'
      22 p 159, nor indirectly that which is prohibited to it dir€ctly.
      3{X}:
                                                                                  to the public safety or heallh
          7. fraveling  in an automobile on the public roads was not a threat
                                                          a traveler owed no other duty t9 the public
                                                                                                         (eg' the
      and constituted no hazard to the public, and such
                                                    quat
                                        i;;.-;il;nurini   righr to and  on  thc roadways   / highways 8s horses
      srat€x he / she and hi,
      and wagons, otc.; this         rigti is stlii SuUstaniive Rulc, in that speeding running stop signs'
                                        o-"
                                                                             the public safety, and thus' are not
      travcling wirhout license platos,-or registlali91,_are not threats to
       arrestable offenses.CtrlJO, ,. bifi                    HE f93s, LRA NS 1905-1910: Celifornia v'
                                     "iZtOl131,74
       Fartery 98 CED Rpt.89,20 CA 3d lfit2                  (fy'l)'
                                                          Republic's Constitutional system                  of   Government and upon
          E. llnder the United States
                                               Docu,*B:             w6t   a*v6    r -nqrh o.ftia r J{oah otwrie / ''?rc Jlonm &npirc'
         ffi,                                             .,yorrh
                                                                                                                               -   Bcing lhc
                                      St t r, 'r"*pb;ith, J*; -d              N* - Do'"qiq
                                                                      Srn',                Non   -   Residenl' l'lon'subject
                - Contirrntel Unird
                                                    Rightful Hcirs and lnhcrion of thc l.and.

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                                                             -i".' (,,



                                                              ,#
    the individuality and intelligence of the citiz.sn, the State does not claim to contrcl one's conduct to
    others, leaving one the sole judge as to all that affects oneself. Mugler v. Kansss l2t3 US 62l!'
     65$-50:
        9. Where Rights secured by the Consitution are involved, therc can be no rulc                            - making or
     legislation, which would abrogate them. Mirendr v. Arizone 384 US 436, 125:
          10.   the     claim and exercise of Constitutional Rights cannot be converted into a crime. Miller v.
     Kansas 2lil0 F 2nd 486,4&):
          ll. 9or a crime to exist, there must be an injured party (Corpus Delicti).'fhere                          csn be no
     sanction or penalty imposed on one because of this Constitutional Right. Sherer v. Cullen                          ,l8l   F.
     945:
          12. Jf *y   Tribunal (court) finds absenee of proof of jurisdiction over a person and subject
     matter, the case must be dismissed. Louisville v. Mothy 2lll US 149' 29S. CT 42. "The Accuser
     Bcars the Burden of Pmof Beyond a Reasonable Doubt".
          13. ".fack of  Federal Jurisdiction can not be waivcd or overcome by agreement of parties".
     Griffin v- Metthews,310    F Supra 3{1,342 (1969): and "Want of Jurisdiction may not bc cured by
     consent of parties". Industrial Addition Association v. C.I,R.,32i, US 310' 313-

          tl,lhereas, In light of the foregoing Jurisprudence 'Stare Decisis' and 'Res Judicata' affirmed and
     deolared by the Supreme Coun t)ecisions; by Facrs, and by Law; and counter to thc ncgative and
     'colorable'social and political conditions institut€d by corporate StatePersonsof the Union States
     Society, there exists a bhtant 'WANT OF JURISDICTION' on the part of the Union States Rights
     Republic (U.S.A.), and by its agents, personnel, contractors, and assigns. Maxims and Axioms are
     lawfully, legally in forcg under National and Intemational Law attending to these issues. And this
     Afliani (Niurat Being - In Propria Persona) does not abandon any of my Estate Rights; do not
     waive any Substantive Rights; does not transfer'Power of Attomcy' to any foreigner; and does not
     willingly consent to any public trial or ministerial hearing in any_'colorable' tribunal venue or
      involv-ement with any ,on-A.ti"l" lll, unconstitutional jurisdiction. The O[Iicial Oaths and Bonds;
     the Obligations; and the Fiduciary duties of all accussrs and proof-bound 'claimants' to National
      Constituion and Trcaty Law and Order; the Civilization Prinoiples fixed in Constitution Law, still
      stands! Definition and Truth still Rules. NON-COMPLIANCE is a Federal Law violation
                                                                                                           and
       lnternational Law offence and Trcspass.

          fU)h"r"o", there is no question that a 'Bench Appearance Summons', a Detention, an Arrest and
      a Ticket or citation, issud uy a Police [ofliced or by others, against the
                                                                                           pople, for traveling with
      nodriveCs license, foreign driver's license, not having cur€nt          registralion,  or mandatory insurance,
                                     jail                                       is          "converting  a right into a
      ria, *t i.ft carries a fine-or      time, is a penalty  or  sanction  and    indeed
                                                                                                                 Court
      crime"; thus violating Substantive Righ6. lt is reasonable to assume that thes€ Supreme
                                                    point, that  there  is no lawful  m€thd     for government   to Put
      judiciai decisions ane straight and to the
      iestrictions or limitations  on Rights  belonging   to the  People'

                                                                                               Moabite / Moorish
            fhat thc organic United States Republic constitution (derivedlrom Ancient
                                                                                    or which  shall be made' under
      Iaw,) remains "fhe Supreme Law of the Land'; and all Treaties made,
                                                                           its Flag of  Peace,           to United
      G   iuttrority of The United     States Government'     and  under                       Pursuant
                                                                        processes w.hjgtr.are Repugnant to,the
      States  Code,   Title 4,  Cf,.ptt.  L  Any   law  or  colorable
                                                                                       Void' Marbury v' Madison
      iorrtitution'or Treaty sfraiiremain forever 'colorable' and are Null and
                            ti6                  i"v         oflicc(s),                P_ersonnel, Employec(s) or
      i  u.s. 32,     174,       iaosl.         Municipat                 Person(s),
                                                                                       Citizens, arc subject to suit
      Conhacto(s) *ho uiotate oi $tUgi the Righis of the Natural People or
      or other tort action, in their personat and / or official capacity  to  wit:


                            Part l, ChePter f3 S24l of United                          States Codes of     Law:
          .,ttte   f   a,

                       sd ,ndiScms goplcs' Doffit3: Jyorthqq{ (trcxem / ,uorth 4frie / .,vonh llmeoa I '51le J,bmtrxn
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          cboriginal
                                     Sra*, Ornpf" .iii"       *d Sun" Nnn - fro.estig Non - Rcsidcn! Non-Subject - Bcing thc
                - Continentel Uniled                    "ff*n
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                                                                                                                 ffi,
                                                            ,#
        l7 ruo or more persons conspire to injure, oppness, thrculen, or intimidate ony person ln any
     State, Territory, commonwealth, Possesslbn or distict in lhe free exercise or enjoyment of any ight
     or privilege secured lo him by the Constitution or Lqws of the Uniled States, or because of his
     having so exercised lhe same; or,.,

         X7 ru" or more persons go in disguise on lhe highway, or on lhe premises t{ aruther, with the
     intent lo prevent or hinder his free exercise or enjoyment of any right or privilege so secured -
         $hey shatl be Jined under lhis lille or imprisoned nor more than ten )pars, or both: and if death
     resul(s from the acts commilled in violation ol this section, or if such acts include kidnopping or an
     atlempl to kidnap, aggravaled sexual abu;e or an attempt lo commit aggravaled sexual abuse, or an
     attempl to kill, they shall beJined under this lille or imprisonedfor any lerm ofyears orfor lde, or
     both, or may be sentenced to deoth.

                        9iUe tA, Pcrt l, Chapter         13 $242 of Unitcd Statcs Codcs of           Law:
         Whoever, under 'color' of any law, stalule, ordinance, regulation, or cttslom, witlfully subject.r
     aily person in any State,'ferritory, Commonweahh, Possession, or District kt lhe deprivation of any
     rights, privileges, or immunilies secured or protecled by the Constitution or l;nts of the United
     Slate.r, or to different punishments, poins, or penalties, an occ(runt of such person being an alien, or
     by reaxtn ofhis color, or race, that are prcscribedfor tlre citizens, shall beflned under lhis title or
     imprisoned tnt more than one year, or bolh: and if bodily injury resul* from the acls committed in
     violation of this .teclion, or if such acts include the use, attempted use, ot threalened use of a
     dangerous weopn, explosives, or firc, shall be fined under this title or imprisoned nol more lhan ten
     years or for lde, or both, or may be senlenced to death.

         fherefore, in preservation of 'The Rights of Indigenous Peoples' and the Preservation of the
     Rights of the Pcoplc, in acoord and defcnse of the Constitution for the Unitcd States Rcpublic of
     North America and its Republican Form of Government - being the 'Suprcme Law of the Land'; and
     primal to the conractual liabilities, Oath - bound Obligations, and Fiduciary Duties of the Officers
     of the Courts - Federal, State, City, and Municipal, etc., I hereby, Demand the enforcement of the De
     jure Laws of the United Statcs, and all Treaties made under the Authority of Tho United States, in
     accord with Article VI of the Constitution; The Bill of Rights; The Declaration of the Rights of the
     Child; The Rights of lndigenous Peoples; The Universal Declaration of Human Rights; The United
      Nations Charter, Article 55(c); The United States Supreme Court - 'Acts of State'; The Foreign
      Sovereign Immunities Act 28 USC 160l; et Sequa., The Convention on 'Intemational Road
      Traflic'-Day 19, September 1949, The World Court Decisions, The Hague, Netherlands, Day 21,
      January 1958 A.D = l37E M.C.; and "Executive Order 13107" - United States Republic, North
      America: The Implernentation of Human Rights Trcaties; The National Constitution for the
      Continental United States, Article III, Section 2; Amendment V - Liberty Clause; Amendment lX,
      etc., etc. I hereby, Demand a Dismissal of any and all unconstitutional sanctions, claimq or other
      warrants or charges made or issued, which are devoid of true identity personages; a denial
      Process' of a 'Trial' by a Jury of my own National Peers; or absent of a verified and lawful
                                                                                                   "f 'Dl9
      lndictment" sanctioned by an assembled Grand Jury; and that I be availed all lawful Constitutional -
      secured mieguards, e$abli$hed by the Supreme Law; with documented proper Jurisdiction and
      Venue confirmed and in Place.

         tl)berefore all parties of interc$ are Authorized by this Writ, pursuant to National                               and
      Intemational Law, to honor all Substantive Rights and Constitutional lmmunities res€rved for, and
      to, this Aborigini / In<tigenous Free and Sovereign Moor I Muur*. All OJTicials are to enlist all
      availabte and appropriate measures to ensure, and assutc, that all My Substantive Rights and
                       j
      Constitutionally secured Rights and tmmunities are not violatcd, not breached, nor abridged- The
      Sovereign,  Naiural Being, named herein, is not to be Arrested nor held for Detention under any
      .colora6ie; circumstancei! You arc to notify the active Minisrcrs of the Aboriginal / lndigenous

        Abori8inal ud Jndigemus geoples' Documts: .ryorthuest 4mexem / rfonh affica i lronh rlnerlca / '9he ,{fururxt €mpire'
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           -'iontinenral U;red Srarcs; Semple of tbc J{oon and Sm': Non - Domcstig Non -
                                               Rightful Heirs ond   lntrriton   of thc Land.

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     Moorish Nationals of the Tcrritory (Organic l,and). 'l'he Natural Person named herein is NON-
     OBLIGA'IORY and thus Exempt from Customs, Tariffs, Taxation" 'Owner in Fee' permit-deception
     Constructs, and from any other hindrance or restriction of His or Her F'reedoms, Allodial Properties,
     Compensations, Rights of Travelo or Freedom of Movement on, in, or within, any mcmber or non'
     member States of the tjnited States Union, etc. The Moor / Muur (bearer of this Indigcnous Peoples'
     f)ocument) is to bc treated with all duc Respect and 'Due Process' Rights under thc Law. All
     available and appropriate measures are to be taken to prevent injustice, harm, false arrest, trumped                                    -
     up charges, or attack on the Natural Being's Person, Property, Personalty, Conveyances, Freedoms,
     and / or Dignity.

         trplicit Reservation and use of 'All Rights Reserved Without Prcjudice' U.C.C. l- 207 I 308,
     U.C.C. l-103, is Noterl'to All Federal, State, City, and Municipal Peace Ofiicers; in harmony with
     State's Statutes, and indicates the Reservation of My Rights. Whereby I may Reserve My
     Substantive Rights and Constitutional - secured Rights and lmmunities to 'NO'f' be Compelled.to
     perform underlny Contracts or Agreements that i have not cntered into knowingly. voluntarily,
     willingly, or uninientionally. I do not accep! any actual or implied 'Liabilitics' associated with any
     .COUpgt.lgO - BENEFITS' of any 'unrevealed' or deceptively-imposed commercial contracts' l,
     furthcrmore, do not sanction any 'unconstitutional' rules or policies, or acts of Misprision commitrcd
     by any U.S. (iovemment or State Oflicials, at any level, claimed by any of them, in the name of the
     Unitui St"t"t Republic, nor do t assent to any implied colorable policies made by alleged
     represcntatives, as being sanctioned by the People and Citizens. Consider any formerly-assumed
     constructs alleged to beielated to me as being misrepresentations and thusly 'Cured' forthwith.
                                                                                                         Let
     it be known.  . . :



         fl*prcsent       to 'Depict' to 'Portray', to 'Symbolize' and to 'Stancl lor'. Let lt b€ Known
                        means
     that the Union Statcs Socicty 'Bar Assosiation' Lawyers, Esquires, and Attorneys of Europcan
                                                                                                     they
      Colonial descent, and foreign corporation' cannot depic! portray or symbolize a Free Moor; as
                                                                                             judgment of
      are not of the same Natiorilurisdiction, Customs, or National Peers; and cannot sit in
           F* Moor (Acts of State). Europeans arc not Indigenes to the Land (Americas) - Moors are
      n-6.rAgi..fi Uniln States Lawyers and Attomeys op".ut" in De-mo. - political format, which is
      "ny
                to Article IV, Secfion 4 of the Constiiution for the United States. Moors operate in. a
      "ont "'ry
      Republican   Form of Govemmenl, conjoined with lsonomi Principles - being in harmony with the
      Constitution. Moors respcct Constitution Principles. The unconstitutional Tribunals operating.under
                                                                                      under Constitution
      fhe Union States Society conllicts with, and is repugnant to,_llDue- Process"
                                                                                                  trial, or
      frinciples, and functioni primarily in 'colorable' procedures. Thenefore, no 'Fair', 'Just'
      ;.dy is availed to the Natural ireoples of the Land,    through such'colorable'processes!..These
      ,i"i"iiig acts constitute a'Conflict of Interest'; a'Confli& of Law'; and clearly      establish the
       ,F'ederaiQuestions' of 'Diversity of Citizenship'; a Conflict of ldentity; and of Nationality and
                                                                                      /      Wartanto' is
       lnternational Law, etc. Thus, a clear and documented 'Averment of Jurisdiction Quo
                                                                                       can              and
       also hereby proclaimed aid'advan"ed to all parties of interest'   Only  Moors        'Present'
       .O"pio' themselves as being Moors / Al Moroccans, and Aboriginal / Indigenes of the Land! Thus'
       only MooJs can'Present' 'Self!
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       *ir"t A Mother, disotemnty, sincuely, squarely Affirm that
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                             Actud iudicial Notice and Proclamation, by Affirmcd  Affidavit' are true' This
       this constructive and
       .Notice, is constructed to                  knowledge, conjoined to my Culturc, Customs and Beliefs;
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       U"i"g ..tra, factual, and  restorative   in nature to my antient Traditions and Customs; presented as
                                                                                                   'lruth' As
       ;;;;    and'not .iri*aing,          - t"ing the Truth, the whole Truth, and nothing but the
                                     "i"-t
       ,rith ou ancient Traditions and Customs, I entreat to all:
                   5(ibu(Love), 9(qq (Truth), Salaam (Peace),'frurryatun (Freedom)' OAI Qustice)'

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Case: 1:20-cv-01772 Document #: 1 Filed: 03/13/20 Page 30 of 32 PageID #:30




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                  @tt night" Rcscrved Without Prejudice; U'C.C. l-207 / 308' U'C'C' l-103'



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          Cboriginat / lndigcnous, frec Sovcreign Moor - Natural Person of thc Land; 'ln Propria Persona'
     (Not Pro Se, Nor Colorable)
     .Mffi / Muffi: Ihc Akigiul ed lntiEccd N.tol ltrrpbr !d Ire llcm   aod   lrdEiiln of lhc lrdr   (fcmbut)   .' (Ndh Amric.. Cdnl Arrio.         S@lh

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                                                    ;CA; sunding 'ln Full Life', existing I His. /
                 Her own Pmper Person; meeting ihe primal 'law of evidence' as required and defined in
                 'ldentity'; ailirmed by Lawfir1, Su-bstantive Right; by Birthright; -and rcspcctively
                 acknowledged - being of desctndible age and comPetenc€; and bcing lawfully qualified and
                 competentlo              Document of Affidavit. I therefore place my hand, my autograph
                               "*ecutJthi.
                 and my seal thereto.



      ;T,:yn__ ***, Novufrhw                                                                       Year:        2!t4
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                          / Minister / Conrul:      rilatural Pcrwn - ln Prupria                                Hercdcs   -
                  \urldrizcd Rcpresenlslivel All RiShts Reserved.  FrEe Moor / Muur
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                                                PROCLAMATION


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Flesearch is a must, claim your
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indigenous Aborigine Moors
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                         TN   THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                              COT]NTY DEPARTMENT - CHAIICERY DIVISION
QUICKEN LOANS INC,
                        PLAINTIFF
                                                           NO.2019 CH02847
                           vs.
                                                           Judge William B. Sullivan
LISA N. MAZZARRI; LINKNOWN OWNERS
AND NON-RECORD CLAIMANTS,                                  CALNO.62

                        DEFENDANTS
                                                           Address:      5404 S. Seeley Avenue
                                                                         Chicago, IL 60609

                                            RE-NOTICE OF MOTION
TO:
      o    Lisa N. Mazzarri, via lisanewbernmazzarri@gmail.com
      o    Lisa N. Mazzarri, 5404 S. Seeley Ave., Chicago, IL 60609

        Please take notice on March 31st-, 2020 at2:30 pm,I shall appear before the Honorable Judge
William B. Sullivan, i, Corttroo- 28031t th" Ri.hard J. Daley benter, 50 W. Washington St., Chicago, IL
60602, for a hearing on the previously filed Motions for Summary Judgment, Judgment of Foreclosure and Sale,
and to Appoint Selling Officer.

                                                   /s/ Patrick T. Schuette
                                                   Patrick T. Schuette, IL ARDC #6300801
                                                   Attorney for Plaintiff

                                              PROOF OF SERVICE

I, Patrick T. Schuette, an attorney certi$ that I served the attached certificate, affidavit, and this notice by email
sent from 230 West Monroe, Chicago, IL 60606 to the email addresses of the parties listed above on
 February 28,2020 before I 1:59 p.m. and by mailing a copy of this notice, certificate, and affidavit to the
above named parties where a mailing address has been identified at the addresses listed above by depositing the
same in the U.S. mail, firsttlass, postage prepaid at230 West Monroe, Chicago, IL 60606 on or before 5:00
p.m. on Februarv 28 ,

I certiff that everything in the Proof of Service is true and correct. I understand that making a false statement on
this form is perjury and has penalties provided by law under 735 ILCS 5/1-109.

                                                  /s/ Patrick T. Schuette
                                                  Patrick T. Schuette, IL ARDC #6300801
                                                  Attomey for Plaintiff

Johnson, Blumberg, & Associates, LLC
230 W. Monroe Street, Suite 1125
Chrcago, Iilinois 60606
Email : ilpleadings@j ohnsonblumberg. com
Ph. 312-541 -97 l0 I F ax 312-541 -91 ll
JB&A # tL t9 70ti
Cook County No.: 40342
